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                                                       UNITED STATES DISTRICT
                                                       COURT SOUTHERN DISTRICT OF
                                                       FLORIDA

                                                       MIAMI DIVISION

                                                       Case No.: 1:18-CV-24100-COOKE/
                                                       GOODMAN
   DIGNA VINAS,

          Plaintiff,

   vs.

   THE INDEPENDENT ORDER
   OF FORESTERS,

          Defendant.
                                           I

        PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT’S
     MOTION TO DISMISS PLAINTIFF’S SECOND AMENDED COMPLAINT
                       WITH INTERLINEATION

          Plaintiff, Digna Vinas (“Vinas”), by and through her undersigned counsel, hereby
   responds in opposition to Defendant’s (“Foresters”) Motion to Dismiss the Second Amended
   Complaint (With Interlineation) (D.E. 152), and states:
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                         RESPONSE TO DEFENDANT’S INTRODUCTION
          Defendant’s motion to dismiss arrives in an unusual posture, with discovery complete
   and motions for summary judgment currently pending. It is curious that Foresters filed a
   Rule 12(b)(6) motion at all, given the amount of factual detail from outside the complaint
   that Defendant incorporates. Fortunately, the Court has already addressed many of
   Foresters’ arguments in the course of granting Vinas’ leave to amend and denying Foresters’
   motion    to   stay   discovery.    Unfortunately,       Plaintiff   cannot   allow   Defendant’s
   mischaracterization and omission of the facts to go un-responded to. As such, sections
   throughout this response are simply included to set the proverbial record straight and respond
   to Foresters’ misrepresentations.
          First, Foresters’ claim that it was “stonewalled at every turn” in discovery is blatantly
   false and disproven by a simple review of the record. Foresters did literally zero discovery
   throughout the first sixteen months of this case; not an interrogatory, not a request for
   production, not a deposition, not a single subpoena. It was not until February 5, 2020, 26
   days before the last discovery had to be propounded, that Foresters sent its first discovery to
   Vinas and two weeks later sent its first subpoena to Dr. Hershman, the sole treating physician
   supporting its denial of benefits. A dispute arose over the subpoenas, but Foresters escaped a
   determination of those issues by confessing judgment and paying the death benefits.
          More fundamentally, neither Foresters’ “stonewalling” fiction, nor its equally false
   assertion of being provided “new” information from Dr. Hershman in 2020, can hide
   Foresters’ Corporate Representative’s (“CR”) admission that it wrongfully denied the claim,
   (D.E. 158, at ¶ 16, 18) and its subsequent payment resulting in a confession of judgment.
   (Vinas has recently filed a motion for partial summary judgment on this issue. (D.E. 159).
          Defendant’s suggestion that it rightfully and gratuitously paid Vinas’ claim as soon it
   was provided “a doctor’s note” from Dr. Hershman in 2020, and therefore all should be right
   with the world, is nonsense. By paying the claim only in response to litigation, Foresters
   entered the functional equivalent of a confession of judgment as to Count I (Breach of
   Contract). Wollard v. Lloyd’s and Cos. Of Lloyd’s, 439 So. 2d 217 (Fla. 1983)); Life Changing
   Ministries, Inc. v. Canopius US Insurance, Inc., No. 5:15-cv-59, 2016 WL 6947341, at *3
   (M.D. Fla. Nov. 28, 2016). While Citizens Prop. Ins. Corp. v. Manor House, LLC, --- So. 3d
   ----, SC19-1394, 2021 WL 208455 (Fla. Jan. 21, 2021), a first party property case, may be

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   applicable to the issue of consequential damages on the breach of contract count, that issue is
   not definitive, and those damages remain recoverable under Vinas’ fraud count. See infra pg.
   10-11 and 20.
          As for Count III (Fraud in the Inducement), Foresters’ motion to dismiss is first and
   foremost an attempt to convert that Count into a different cause of action that Foresters
   would prefer to defend. Rather than addressing the allegations in the complaint, Foresters
   has, as it has done throughout this litigation, constructed strawman arguments to then
   deconstruct. The first strawman is that Vinas has pled a cause of action for statutory bad
   faith. Vinas has not! Vinas does not, anywhere in the complaint, allege a statutory bad faith
   claim. In fact, the words “bad faith” or “§624.155” do not appear in the complaint. What
   Vinas has alleged is a sustainable cause of action for fraud in the inducement. Since Foresters
   cannot obtain dismissal of that Count based upon the allegations as pled (or the evidence
   adduced), it has created its own cause of action to defend. (D.E. 152, at 11).
          The second strawman is Foresters allegations regarding vicarious liability. Vinas has
   not sued Foresters under any vicarious liability theory. (Id., at 12-13, 16-17). Foresters is not
   an otherwise innocent party haled into court to answer for the misdeeds of another.            Its
   liability is active and affirmatively alleged as the acts of Foresters. It is not merely technical
   or derivative of another. A separate count of vicarious liability is neither required nor
   appropriate.
          The third and final strawman is Foresters’ conflating fraud in the inducement with
   fraud in the performance. Count III states a claim for fraud in the inducement, independent
   of Count I and focusing on an entirely different time period. Count III does not allege fraud
   in the performance! (Id. at 14). Count III is based on tortious conduct that occurred in
   January 2015, before the policy ever existed. Foresters’ claim conduct and breach of the
   terms of the contract occurred in January 2017, and forms no part of its liability for Count
   III. The independent tort rule does not bar Count III.
          In addition to re-casting the causes of action to create its three strawmen, Foresters
   again, raises the defenses of standing, pleading standards under Rule 9(b), and “shotgun
   pleading.” The Court has rejected all of Foresters’ arguments previously. Nothing is new
   here. Additionally, Vinas will be entitled to attorney’s fees under Fla. Stat. Section 627.428 if
   she prevails on Count III. Finally, she has not abused the privilege of amending her

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   complaint, or otherwise given cause for the Court to dismiss any of her claims with prejudice.
   The Court should deny Foresters’ motion to dismiss.
                                   STANDARD OF REVIEW
          A motion to dismiss is properly denied if, taking the allegations in the plaintiff’s
   complaint as true, the plaintiff makes out a claim “that is plausible on its face.”
   SmileDirectClub, LLC v. Battle, 969 F.3d 1134, 1140 (11th Cir. 2020) (citing Ashcroft v.
   Iqbal, 556 U.S. 662, 678 (2009); Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007)).
   The complaint must be interpreted “in the light most favorable to the plaintiff.”      Boyd v.
   Warden, Holman Corr. Facility, 856 F.3d 853, 863–64 (11th Cir. 2017).
          The Court necessarily already applied this standard to evaluate the arguments
   Foresters raises against Count III (Fraud in the Inducement) in its responses opposing Vinas’
   motions for leave to file the Second Amended Complaint (D.E. 72) and to Amend it by
   Interlineation (D.E. 121), where Foresters argued the amendment would be futile.
                       ARGUMENT AND MEMORANDUM OF LAW
                Having Confessed Judgment Under Florida Law, Foresters
                     Cannot Escape Liability by Claiming Mootness

          Foresters’ claim that Count I (Breach of Contract) is moot by virtue of its paying a part
   of Vinas’ damages by paying the amount under the policy is wrong for several reasons. First,
   as the Court knows, the standard for deciding a motion to dismiss is based upon the
   allegations in the four corners of the complaint and attachments. Wilchombe v. TeeVee
   Toons, Inc., 555 F.3d 949, 959 (11th Cir. 2009). There is nothing in the complaint or the
   attachment that references payment by Foresters. Brooks v. Blue Cross & Blue Shield of
   Florida, Inc., 116 F.3d 1364, 1369 (11th Cir. 1997) (permitting attachments to motion to
   dismiss “where the plaintiff refers to certain documents in the complaint”). Instead, Foresters
   is asking the Court to simply accept its own argument and attachments outside the four
   corners to resolve an issue that is properly pled and remains disputed as to damages! (D.E.
   152, at 6). Further, Foresters’ request is inconsistent with its own position on the issue.
   Specifically, at the same time Foresters paid the policy benefit thereby confessing judgment,
   Foresters continues, right up to the present, to deny it breached the contract!!! (D.E. 152, at
   6). Foresters can’t have it both ways.
          Even if the Court is willing to consider evidence outside the four corners of the

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   complaint, the Court should deny the motion to dismiss because the amount of damages
   remains at issue. Whether Foresters has satisfied all or a part of the damages legally allowable
   under Florida law is a matter of evidence and may be addressed either at the motion for
   summary judgment stage or at trial. Tellingly, Foresters’ arguments are redundant of the
   same arguments raised in Foresters’ motion for summary judgment, which can and does
   refer to the negotiated check and interest computations as evidence. (D.E. 156, at, e.g., 3).
          With respect to the consequential damages portion of the claim, Foresters relies
   heavily on Citizens Prop. Ins. Corp. v. Manor House, LLC, --- So. 3d ----, SC19-1394, 2021
   WL 208455 (Fla. Jan. 21, 2021), a property damage case whose holding may or may not
   apply to a life insurance policy.1 Again, whether Foresters has paid the full amount of
   damages to which Ms. Vinas is entitled is more appropriately addressed in the context of
   trial or motions for summary judgment, which offers Foresters’ identical briefing on the
   issue. (Compare D.E. 156, at 6-8 with D.E. 152, at 9-11). In any case, given the allegations
   in the operative complaint, the motion to dismiss should be denied.
          Finally, on this issue, Foresters’ Motion seeking dismissal of Count I is particularly
   puzzling because, under Florida law, Foresters has now confessed judgment by paying the
   benefits owed after a year and a half of litigation. As more fully set forth in Plaintiff’s motion
   for summary judgment, (D.E. 159, at ¶ 30-31), it is Vinas that is entitled to entry of judgment
   in her favor on the breach of contract count.
          When the insurance company has agreed to settle a disputed case, it has, in
          effect, declined to defend its position in the pending suit. Thus, the payment of
          the claim is, indeed, the functional equivalent of a confession of judgment or a
          verdict in favor of the insured.

   Wollard v. Lloyd's & Comp, of Lloyd's, 439 So. 2d 217, 218 (Fla. 1983). (Emph. supp)
          Foresters’ motion runs afoul of the reality under Florida law that Vinas is entitled to
   judgment in her favor, and requests exactly that in her own motion for summary judgment.
   (D.E. 159, at ¶ 30-31). See Life Changing Ministries, Inc. v. Canopius US Ins., Inc., 5:15-CV-
   59-OC-30PRL, 2016 WL 6947341, at *3 (M.D. Fla. Nov. 28, 2016); Saewitz v. Lexington
   Ins. Co., 02-23248CIV, 2003 WL 25740732, at *2 (S.D. Fla. Oct. 16, 2003), aff'd, 133 Fed.


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              Manor House also is not final yet. A motion for rehearing was filed Friday, February
   5, 2020.
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   Appx. 695 (11th Cir. 2005) (“Defendant's payment constitutes a confession that the damages
   for which it paid $240,055.81 were covered under the policy and were caused by the
   refrigerator leak”). How much of that judgment may have been satisfied by Foresters’ partial
   payment, is an issue of evidence for another day. For now, however, Foresters’ Motion to
   Dismiss should be denied.
          Contrary to Foresters’ argument, there is no support for the contention that an insurer
   who “paid the entire death benefit” after litigation ensued “could not have breached the
   policy” for that reason alone. (D.E. 152, at 6 (citing Stewart v. Chesapeake Life Ins. Co.,
   No. 5:17-cv-380-Oc-30PRL, 2017 WL 4410097, at *2 (M.D. Fla. Oct. 4, 2017))). Stewart is
   distinguishable. In Stewart, the entire lawsuit revolved around whether Chesapeake Life
   owed only the $46,632 it paid, or the full $100,000 the plaintiff demanded. After deciding
   that the plaintiff was due only the $46,632 already received, the court found in favor of the
   defendant. Here, Foresters forced Vinas to litigate for more than a year before paying
   damages, and then continued to dispute both the amount and type of damages, and partial
   entitlement to attorney fees due. Incredibly, Foresters is still questioning whether it had
   breached the contract at all. (D.E. 152, at 8). The cases are not analogous.
          Foresters’ lengthy memo and reliance on its payment of prejudgment interest is
   curious. The interest Foresters paid simply represents the time value of the unpaid death
   benefits. Wiand v. Lee, 753 F.3d 1194, 1205 (11th Cir. 2014) (“[P]rejudgment interest should
   not be thought of as a windfall in any event; it is simply an ingredient of full compensation
   that corrects judgments for the time value of money.”) (citations omitted; modification in
   original, emphasis supplied).2 As of today, Foresters has not paid a penny more than it owed
   under the insurance policy, adjusted to reflect wrongful delay of payment. The Court should
   deny Foresters’ motion to dismiss Count I.




          2
             Foresters suggests that it somehow arrived at the 8% figure out of generosity. (D.E.
   152, at 7-8). In fact, while Section 627.4615 provides for interest based on Moody’s Corporate
   Bond Yield average, it also provides in the alternative that “If the method of calculating such
   index is substantially changed from the method of calculation in use on January 1, 1993, the
   rate must not be less than 8 percent.” After misleading the Vinases in the sale of the policy
   and then wrongfully denying Mr. Vinas’ claim for years, Foresters can hardly be heard today
   to be altruistically giving away money.
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    Foresters’ Confession of Judgment and Concession That the Insurance Policy Was
     In Full Force And Effect Precludes Entry of Judgment for Foresters on Count II

          Consistent with its post-suit payment of benefits, with interest, Foresters now concedes
   that the policy was “valid and in full force and effect” when Mr. Vinas died. (D.E. 152, at 8-
   9). This obviates any need for a declaration that “Foresters’ attempted recission of the policy
   was incorrect.” (D.E. 147, at ¶ 24). Vinas agrees Count II has become moot. However, the
   logical consequence of mootness is an absence of jurisdiction, which deprives the Court of
   power to enter a merits “judgment [in] Foresters’ favor” as it requests. (D.E. 156, at 3 n.2);
   see, e.g., Adler v. Duval County Sch. Bd., 112 F.3d 1475, 1477 (11th Cir. 1997) (“Any
   decision on the merits of a moot case would be an impermissible advisory opinion.”).
   Foresters is not entitled to a judgment in its favor by reason of its confession of judgment that
   it wrongfully denied Vinas’ benefits!
         Fraud in the Inducement is Not a Bad Faith §624.155 Claim in Disguise.
          Foresters, again unable to frame its arguments in accordance with Rule 12(b)(6)’s four
   corners requirement, goes outside the complaint, first to fabricate stories about discovery, and
   then to blame its admitted breach of contract and confession of judgment on Vinas. (D.E.
   152, at 9-10). Again, with the disclaimer that this issue is completely irrelevant to fraud in the
   inducement, the only remaining liability issue in this case, the following presents the facts
   rather than Foresters’ fiction.
          Foresters cannot credibly maintain that “[d]uring the discovery process, Foresters
   repeatedly attempted to obtain information about Mr. Vinas’ medical history and his
   knowledge of his medical conditions.” (D.E. 152, at 9). It is not rhetoric or exaggeration to
   say that is an outright misrepresentation to this Court. Foresters waited literally 16 months
   before propounding its first and only discovery requests. Specifically, on February 5, 2020,
   the same day the CRN was filed Foresters served its first interrogatories and requests for
   production and admissions. (D.E. 161, Notice of Filing). Then, two weeks later, on February
   19, 2020, (almost 17 months into the case), Foresters issued its first notice of non-party
   subpoenas for Dr. Hershman’s records. (D.E. 61-3, at ¶ 3). Vinas appropriately objected to
   the scope of the subpoena given the issues in the case, and a discovery hearing was set. That
   is the sum total of Foresters “repeated attempts” at discovery and Vinas’ “stonewalling”.
   Such unsupported rhetoric should not be tolerated!

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          In any case, before the Magistrate ruled on the discovery issue, but following the
   damaging depositions of Foresters’ Corporate Representatives just a few weeks before,
   Foresters confessed judgment and agreed to pay the policy proceeds, a portion of Vinas’
   damages. (D.E. 152, at 6). Those are the undisputed facts based on the verifiable citations
   above. While Foresters’ procrastination is truly amazing given that Dr. Hershman provided
   the sole basis for Foresters’ denial of benefits, (Sullivan Depo, D.E. 158-4, at p. 144, lines 4-
   7), what is even stranger is that Foresters would try to shift the responsibility for its delay to
   Vinas on an issue that really doesn’t matter at this point in the litigation. Foresters paid the
   insurance benefits portion of the damages after forcing Vinas to file suit. It confessed judgment
   under Florida law. That issue should be over.
          On the issue of the supposedly “new” information Foresters emptily complains about,
   it is undisputed that, Foresters had that information since 2015. (D.E. 152, at 2; D.E. 155, at
   14). Further, Foresters could have deposed Dr. Hershman, propounded discovery upon, or
   taken any number of steps to “obtain information about Mr. Vinas’ medical history” any time
   following Mr. Vinas’ death when it received medical authorization forms for Mr. Vinas
   records permitting it access to almost everything it wanted.          While Foresters was not
   motivated to act until its own Corporate Representatives buried its case in a sea of devastating
   admissions, and its conduct rightfully deserves the title “shameful”, its own apparently
   purposeful delay does not make this an issue to be resolved under Rule 12(b)(6)!
          Foresters’ recitation of extraneous and improper detail is not limited to its misleading
   attempt to imply misconduct during litigation. Foresters’ “bad faith” strawman also goes
   outside the four corners of the complaint on the merits as well. Foresters tries to introduce
   civil remedy notices (“CRN”s) Vinas filed against it, which are totally irrelevant to Count I,
   Count II, or Count III. (D.E. 152, at ¶ 9). The Complaint raises no statutory bad faith claim,
   so of course the CRN notices are not referenced in it, rendering Forester’s attempted
   “loophole” unavailable. Brooks, 116 F. 3d at 1369. Next, in the it’s not relevant category,
   Forester relies on its tender of death benefits with interest, as evidenced by the negotiated
   check, for the argument that it is now “statutorily immune from suit. . . as a result of its CRN
   cure.” (D.E. 152, at ¶ 11). As discussed in connection with Count I, at page 4 of this motion,
   not only is the check is not appropriately considered here, bad faith and CRNs have nothing
   to do with Vinas’ fraud in the inducement count, Foresters’ relentless yet unsupported rhetoric

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   to the contrary.
          Florida Law is Clear That Fraud in the Inducement and Breach of Contract
            are Separate Independent Causes of Action That Can and Do Co-Exist
          The irrelevant evidentiary issues should not distract from the fact that Foresters’
   arguments lack any legal merit. Fraud in the inducement does absolutely co-exist with a
   breach of contract action under Florida law. See e.g., HTP, Ltd. v. Lineas Aereas
   Costarricenses, S.A., 685 So. 2d 1238, 1239 (Fla. 1996) (explaining that “the actions of
   fraudulent      inducement        into     a contract and      breach       of     that contract are
   not mutually exclusive”). “A right of action on a contract and for fraud in inducing plaintiff
   to enter into such contract may exist at the same time, and a recovery on one of the causes
   will not bar a subsequent action on the other.” Id. The causes are entirely distinct.
          Breach of contract and the bad faith remedy associated with it, provides a remedy for
   failure to perform a promise. On the other hand, “the interest protected by fraud is society’s
   need for true factual statements in important human relationships, primarily commercial or
   business relationships.” Id. at 1240 (quoting Woodson v. Martin, 663 So. 2d 1327, 1330 (Fla.
   2d DCA 1995) (Alternbernd, J., dissenting)). “More specifically, the interest protected by
   fraud is a plaintiff’s right to justifiably rely on the truth of a defendant’s factual representation
   in a situation where an intentional lie would result in loss to the plaintiff.” Id. Thus,
   regardless of whether there is an accompanying claim for breach of contract, “[i]f a fraud is
   perpetrated which induces someone to enter into a contract, there is a cause of action for fraud
   and the remedies attendant to that particular tort are available.” La Pesca Grande Charters,
   Inc. v. Moran, 704 So. 2d 710, 712 (Fla. 5th DCA 1998).
          Despite Foresters’ attempt to comingle and conflate bad faith and fraud, fraud in the
   inducement has nothing to do with Florida’s statutory bad faith cause of action! Section
   624.155 claims relate to claim handling practices, such as adjusting and settling claims.
   Macola v. Gov't Employees Ins. Co., 953 So. 2d 451, 457 (Fla. 2006) (“a first-
   party bad faith cause of action arises when an insurer fails to act in good faith in the processing
   of the insured's own first-party claim”) (Emph. Supp.). Fraudulent inducement, on the other
   hand, focuses on conduct before the contract was created. GlobeTec Const., LLC v. Custom
   Screening & Crushing, Inc., 77 So. 3d 802, 803 (Fla. 3d DCA 2011) (“the plaintiff must show
   that the fraudulent act induced the formation of contract between the parties.”).


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           In the present case, the fraud alleged in Vinas’ operative complaint occurred in 2015
    before the contract was even formed. This was over two years before Foresters’ actions (and
    any bad faith claims conduct) leading to the breach in 2017. Foresters’ attempt to conflate
    the two causes of action and erect its “bad faith strawman” must be rejected.
           In addition, the language in Florida’s bad faith statute itself makes it clear that the
    civil remedy in §624.155 “does not replace or preempt any other remedy or cause of action
    provided for . . . pursuant to the common law of this state.” §624.155(8), Fla. Stat.
    Thus, despite Foresters’ citing to the statute 15 times in its motion to dismiss, as well as
    using the phrase “bad faith” 17 times, Foresters cannot convert a fraud claim into a bad
    faith claim. Vinas was not required to frame Count III as a statutory claim, because the
    bad faith statute has nothing to do with the fraud count!
           Foresters’ cited authority is completely distinguishable. (D.E. 152, at 10-11). In
    Geico General Ins. Co. v. Hoy, the Second District merely applied the well-established
    principle that “When a litigant files claims for both coverage and bad faith in the same action,
    the insurer’s claim file is not discoverable until the issue of coverage is resolved.” 927 So. 2d
    122, 125 (Fla. 2d DCA 2006). What has that got to do with this issue? The Hoy court most
    certainly did not hold that Ms. Hoy’s fraud claims were “bad faith claims in disguise,” (D.E.
    152, at 10), subject to Section 624.155’s procedural requirements. It is particularly puzzling
    for Foresters to cite to Hogan v. Provident Life & Accident Ins. Co., 665 F. Supp. 2d 1273
    (M.D. Fla. 2009). Faced with a complaint alleging both statutory bad faith and common-
    law fraud and negligence, the Hogan court rejected Provident’s arguments and explicitly
    held that a plaintiff can “plead both common law and statutory claims” for bad faith.
    Concerns about “double recovery” come only if the plaintiff tries to recover the same
    elements of damage on overlapping claims. Id. at 1288. Again, how does that help
    Foresters’ case?
           Foresters also gives the newly-decided Manor House decision a broad
    construction which it cannot bear, one that would insulate Foresters from punitive and
    consequential damages in tort as well as contract. (D.E. 152, at 11). As discussed above,
    that factual question of whether Manor House may affect whether defendant’s payment
    of death benefits has fully or partially satisfied the confession of judgment to Count I
    (Breach of Contract), is well beyond the borders of this motion to dismiss and has been

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    briefed extensively in Foresters’ motion for summary judgment.
            For the purposes of the pending motion, there is nothing in Manor House that
    overrules prior Florida precedent clearly permitting fraudulent inducement in the
    present context, negates the anti-preemption clause or effects Vinas’ entitlement to
    punitive damages if Plaintiff can prove fraud. § 624.155(8), Fla. Stat.; HTP, Ltd., 685
    So. 2d at 1239; La Pesca Grande Charters, Inc., 704 So. 2d at 712. The key distinction could
    not be clearer. The Court should deny Foresters’ motion to dismiss.
                    Vinas Has Not Alleged Vicarious Liability Against Foresters.
                    Count III (Fraud In The Inducement) Is A Direct Fraud Tort
                                Cause of Action Against Foresters.
            Foresters returns to its strawman construction when it argues that Vinas “does
    not state a basis to hold Foresters vicariously liable” for Jazmin Lightbourn’s conduct.
    (D.E.    152,    at   16).   Under    Florida    law,   “vicarious liability always involves
    liability without fault.” Am. Home Assur. Co. v. Nat'l R.R. Passenger Corp., 908 So.
    2d 459, 470 (Fla. 2005) (emphasis in original). The most common examples are an
    owner of a vehicle being held liable for the negligence of the driver or an employer being
    held liable for the acts of an employee. Univ. of Miami v. Ruiz ex rel. Ruiz, 164 So. 3d
    758, 766 (Fla. 3d DCA 2015) (employee); Roman v. Bogle, 113 So. 3d 1011, 1012 (Fla.
    5th DCA 2013) (driver).
            To be clear, Vinas has not pled or tried to plead a vicarious liability claim against
    Foresters. Only Foresters has raised the issue of vicarious liability. The fraud cause of
    action against Foresters is a direct tort claim against it for fraud committed by Foresters.
    Vinas does not allege, argue or claim that Foresters is “free of legal fault” and only liable
    “based solely on the legal imputation of responsibility for another party’s tortious acts.”
    Am. Home Assur. Co., 908 So. 2d at 467–68. Vinas has sued Foresters for its direct
    fraud. There is nothing vicarious about it!
            Again, the procedural posture of the case vis à vis this motion is unique as
    discovery is long completed.      However, in addition to the clearly pled allegations in
    Plaintiff’s complaint, (D.E. 147, at ¶ 36a), Foresters own CR completely acknowledged
    the representation by Foresters through its sales agent Jazmine Lightbourn was
    absolutely authorized and appropriate! (D.E. 159, at ¶ 20; D.E. 158, at ¶¶ 1-3).
            As discussed more fully in the motion for summary judgment and statement of

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    material facts, (D.E. 159, at ¶ 20; D.E. 158, at ¶¶ 1-3), Foresters authorized its agents to
    make representations consistent with the policy. Here, the relevant representation as
    alleged was that “Foresters would not deny a claim or rescind the policy for inaccuracies in
    the Application so long as Mr. Vinas answered the Application questions truthfully, i.e., to
    his best knowledge and belief”. (D.E. 147, p¶ 36a) Because there is no derivative liability
    allegation in the complaint, the Court should deny Foresters’ Motion to Dismiss on this
    ground.
                           Count III (Fraud in The Inducement) is
                 An Independent Tort Separate from Any Breach of Contract.
           In the same way Foresters tried to re-write Vinas’ complaint to allege statutory bad
    faith and vicarious liability, it has also tried to rewrite the Complaint to allege Fraud in the
    Performance. Again, to be clear … Count III of Plaintiff’s complaint is for fraud in the
    inducement. In case it is not clear to Foresters after almost a year, the operative allegations
    of Count III allege a fraudulent representation prior to the time of entering into the contract;
    not in the performance of the contract. (D.E. 147, at ¶¶ 36(a)-38). The fraud occurred during
    the sale of the policy. It was then that Foresters reassured Mr. Vinas that Foresters would not
    deny a claim or rescind the policy for inaccuracies in the Application so long as Mr. Vinas
    answered the Application questions to his best knowledge and belief. This was a
    representation Foresters did not know was true or false when it was made. This is fraud under
    Florida law. The breach of contract occurred two years later when Foresters denied the claim.
    This is as it is expressly alleged in Plaintiff’s Complaint. Plaintiff can’t say it any clearer.
           Foresters’ next argument is directed at expressing its disproval and disagreement with
    Florida law clearly establishing and recognizing that fraudulent inducement “is an
    independent tort … separate and distinct from the breach of contract.” HTP, Ltd. v. Lineas
    Aereas Costarricenses, S.A., 685 So. 2d 1238, 1239 (Fla. 1996). It is separate and distinct
    exactly because it “requires proof of facts” that are different than those required for breach of
    contract. Id.; see also Maxted v. SATO Glob. Sols., Inc., 17-61769-CIV, 2018 WL 3109628,
    at *6 (S.D. Fla. Mar. 9, 2018) (applying HTP to hold that a fraudulent inducement claim was
    not “impermissibly duplicative” of a claim of breach of oral employment contract). It is also
    well-established that a promise of future performance can serve as a predicate for a claim of
    fraud when the promisor either “does so with no intention of performing or with a positive


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    intention not to perform.” Mejia v. Jurich, 781 So. 2d 1175, 1177–78 (Fla. 3d DCA 2001);
    see also Noack v. Blue Cross & Blue Shield of Florida, Inc., 742 So. 2d 433, 434 (Fla. 1st
    DCA 1999) (fraud lies where “the promise was made with the present intention not to
    comply.”).
           The Fifth District Court of Appeal has offered an excellent example of the
    independence of fraud in the inducement:
                   Suppose someone offers to sell you a particular emerald for
                   $5,000 and, in order to induce you to buy it, represents to you
                   that it is “top quality” and that it has not been filled. You buy it
                   based on the factual representation that the stone is unfilled but
                   later you learn that it, in fact, had been filled. If the seller knew
                   the emerald had been filled but lied in order to trick you into
                   agreeing to buy it, you have a cause of action for fraud with all
                   its attendant remedies. You may also have an action for breach
                   of contract.

    La Pesca Grande Charters, Inc. v. Moran, 704 So. 2d 710, 713 (Fla. 5th DCA 1998). “The
    fact that the same measure of damages (the difference in value between a filled emerald and
    an unfilled emerald) may be available under both the tort and the breach of contract does not
    cause the tort to disappear.” Id. “Nor does the inclusion of the fraudulent representation as
    an express warranty in the contract preclude the tort remedy.” Id. “The notion that a
    knowing fraud perpetrated to induce someone to enter into a contract can be extinguished by
    the simple expedience of including the fraudulent representation in the contract makes no
    sense.” Id. at 712.
           In the present case, Count III of Vinas’ operative complaint alleges the circumstances
    and specific representations between the Vinases and Foresters that occurred in January 2015,
    when the fraudulent representations were made.            Contrary to Foresters’ uncited and
    unsupported contentions, and ignoring the actual allegations, the “fraudulent conduct” did
    not consist of “failing to adhere to the representations in the Certificate.” The fraud was
    complete when Foresters made the misrepresentation and had no idea whether its
    representation was true or not. Parker v. State of Florida Bd. of Regents ex rel. Florida State
    Univ., 724 So. 2d 163, 168 (Fla. 1st DCA 1998). This was before the parties even entered
    into the contract, and long before Foresters breached it in January 2017.
           The actual allegations notwithstanding, and ignoring paragraph after paragraph of


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    specifically pled facts directed at the formation of the contract, (D.E. 147, at ¶¶ 32-45),
    Foresters again conclusorily asserts Vinas alleged facts that only prove breach. (D.E. 152, at
    15). Foresters is clearly ignoring the express allegations in the Second Amended Complaint
    that Foresters committed an independent tort at the time it entered the contract, because it
    had no intention of honoring the “best knowledge and belief” language at formation. (D.E.
    147, at ¶¶ 36-42).
           While the Court is likely familiar with the allegations by now, Vinas’ Second Amended
    Complaint (With Interlineation) specifically alleges that Foresters’ sales agent Jazmin
    Lightbourn “represented that Foresters would not deny a claim or rescind the policy for
    inaccuracies in the Application so long as Mr. Vinas answered the Application questions
    truthfully, i.e., to his best knowledge and belief”. (Id. at ¶ 36a). This was Foresters explaining
    the contestability process to the Vinases and that the standard for a misrepresentation was for
    Mr. Vinas to provide “answers that were ‘full, complete, and true to the best of [his]
    knowledge and belief.’” (Id. at ¶ 33).
           But Defendant had “no intention to pay Mr. Vinas during the first two years following
    issuance of the Policy,” as it didn’t even know if its representations were true or not. Instead,
    as expressly alleged, it intended to use “its willful blindness to the information available to it
    as a false defense” regardless of Mr. Vinas’ best knowledge and belief. (Id., at ¶41). The
    representation that the application need be completed only to his best of his knowledge “was
    made to induce Rigoberto Vinas to pay premiums for the policy despite the fact that Foresters
    knew it had no intention to ever pay benefits if [he] were to die during” the contestability
    period, “even if Application answers were provided to Mr. Vinas’ best knowledge and belief.”
    (Id., at ¶ 37). Mr. Vinas relied on the validity of the representations in the contract and made
    premiums as required. (Id, at ¶ 41).
           All of these allegations that are expressly pled and expressly ignored by Foresters
    address the time of formation of the policy in 2015, separate and distinct from the breach that
    occurred approximately two years later when Foresters refused payment of benefits in 2017.
    The Court should deny the motion to dismiss because Count III (Fraud in the Inducement)
    is independent of Count I (Breach of Contract).




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                     Vinas Has Standing to Pursue Fraud in the Inducement
                        Based on Her Husband’s Life Insurance Policy.
            Defendant’s arguments are a virtual “cut and paste” of the arguments already rejected
    by this Court when, over Defendants’ assertions of futility, it granted Plaintiff leave to amend
    her Complaint (D.E. 90, 144) and denied Defendant’s Motion to Stay Discovery (D.E. 100).
    Foresters’ argument that Vinas does not have standing to pursue this matter (D.E. 95, at 14;
    see also D.E. 72, at 11 (pressing same line of argument in opposition to Motion for Leave to
    File a Second Amended Complaint)) is as unsupported now as it was the first time the Court
    rejected it.
            As Vinas pointed out in opposition to Foresters’ first bite at this particular apple, she
    has, as a direct beneficiary of the policy “a basis upon which . . . [she] may . . . invoke the
    benefits of a contract to which [she] is not a party.” (D.E. 79, at 10 (citing Medimport S.R.L.
    v. Cabreja, 929 F. Supp. 2d 1302, 1315 (S.D. Fla. 2013))). Additionally, limiting standing
    under the present facts to the party whose death occasioned the payment obligation creates a
    hugely perverse incentive to cheat:
                   Foresters’ argument should be denied for its lack of practical
                   applicability. Specifically, to accept Foresters’ standing
                   argument would be to eliminate from jurisprudence any claim
                   for fraud with respect to all life insurance policies, as the named
                   insured in the majority of such policies is usually deceased. Thus,
                   according to Foresters, no beneficiary would ever be able to sue
                   for breach of contract or fraud. Perhaps this is why Foresters
                   could not find a single case to cite even suggesting that a
                   beneficiary of a life insurance policy does not have standing to
                   sue for fraud in the inducement.

    (D.E. 79, at 10) (emphasis added). It is not surprising that Foresters marshals no new
    authority, and still cannot find a case even suggesting that a beneficiary of a life insurance
    policy does not have standing to sue for fraud in the inducement. Clearly, such lawsuits have
    been filed. E.g., JMIC Life Ins. Co. v. Henry, 922 So. 2d 998, 1000 (Fla. 5th DCA 2005). It
    would be remarkable, although highly unlikely indeed, if Foresters were correct on the law,
    but no other insurance company had ever succeeded on the same point.
            Additionally, Foresters’ misrepresentation was made to both Mr. and Mrs. Vinas at
    the time of sale of the policy, and the couple jointly made the decision to switch to a Foresters’
    policy in reliance. (D.E. 159, at ¶ 23). The Court should again reject Foresters’ standing

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    argument.
       Vinas has Appropriately and Sufficiently Pled All Elements of Fraud Including
                   Jazmin Lightbourn’s Status as Foresters’ Sales Agent

           The Court has addressed this argument before. Contrary to Foresters’ latest motion,
    (D.E. 152, at 13), Rule 9(b) does not impose an inflexible requirement that plaintiffs allege
    the circumstances of fraud with the detail argued by the defendant. Colonial Penn Ins. Co.
    v. Value Rent-A-Car Inc., 814 F. Supp. 1084, 1092–93 (S.D. Fla. 1992) (finding “fair notice”
    where plaintiff “did not allege specific times, dates, or places for all the alleged predicate
    acts”). The allegations of the fraud in this case are expressly pled for Foresters to read. Vinas
    makes it clear what the representation was (D.E. 147, at ¶¶ 36-36a), who made it (id), to
    whom it was made, (id.), when, (id.), along with the other legal requirements of fraud such
    as reliance (id. at ¶ 43), scienter (id. at ¶37-38), and injury. (Id. at 45). The fraud in this case
    is not complicated. It doesn’t require combing through stacks of accounting records or tax
    returns to find inconsistencies that may not be clear to the defendant. This was a single lie
    told to an elderly married couple to induce them to switch insurance policies. The pleadings
    make it very clear what is alleged, and against whom.
           In addition, it is difficult for Foresters to feign ignorance of the allegations against it.
    The law is clear that in addition to pleadings, a defendant can glean sufficient notice of the
    claims against it through alternative means such as summary judgment evidence, which is
    equally suitable. Durham v. Bus. Mgmt. Associates, 847 F.2d 1505, 1511–12 (11th Cir. 1988).
    Here, the record is too developed from Foresters’ own CR testimony, for Foresters to pretend
    any lack of fair notice.
           Despite the hours of attorney time already expended in developing the record and even
    filing two motions for summary judgment, Foresters claims that it lacks fair notice of the
    fraudulent misrepresentation. Really?! Incredibly, Foresters pretends not to know that Ms.
    Lightbourn, in the course of selling the policy at issue, sat in the Vinas home and told them
    that the incontestability period was nothing to worry about, as long as Mr. Vinas answered
    the application questions honestly, to his best knowledge and belief. (D.E. 158, at ¶4, 7).
    Foresters pretends not to know that its own CR testified that this representation was truthful
    and appropriate and that he would “have a problem” if he found out that it wasn’t true!! (D.E.
    158, at ¶ 17). Fortunately, Rule 9(b) imposes no duty to amend the complaint to allege what

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    Foresters already knows and what was expressly testified to by its own witnesses and
    corporate representatives.
           In true “shotgun form,” Foresters also re-raises an aspect of its standing argument here,
    i.e. whether Rule 9(b) requires Mrs. Vinas to allege that each element is satisfied by her
    individually. Mrs. Vinas has standing to raise Count III as set forth above. Moreover, Vinas
    has presented evidence that she was present along with her husband when Foresters made its
    fraudulent representation to both of them, and that she and her husband made the decision to
    switch to Foresters jointly, in reliance on that representation. (D.E 158, at 8). The Court
    should deny the motion to dismiss.
           As to Ms. Lightbourn, Vinas has expressly pled that “Foresters, through its sales agent
    Jazmin Lightbourn . . . represented that Foresters would not deny a claim or rescind the policy
    for inaccuracies in the Application so long as Mr. Vinas answered the Application questions
    truthfully, i.e., to his best knowledge and belief.” (D.E. 147, at ¶ 36a). Indeed, Rule 9(b)’s
    heightened pleading standard is present to be certain the defendant is put on notice of the
    fraudulent conduct alleged, but it “must not abrogate the concept of notice pleading.”
    Durham v. Bus. Management Assocs., 847 F.2d 1505, 1511 (11th Cir. 1988).
           In this case, there is no doubt Plaintiff has sufficiently advised the Defendant of the
    fraudulent statement as well as all the circumstances surrounding it. (See p. 16, supra). No
    doubt, Foresters would have liked Vinas to have pled the color of Ms. Lightbourn’s lipstick
    through which the fraudulent words were spoken but Rule 9(b) does not extend to that level
    of specificity or to the technical basis for the sales agent’s agency with Foresters. Sun Life
    Assurance Co. of Canada (U.S.) v. Imperial Holdings, Inc., 13-80385-CIV, 2014 WL
    12452450, at *3 (S.D. Fla. June 26, 2014). Vinas expressly alleged Ms. Lightbourn was
    Foresters’ sale agent. (D.E. 147, at ¶ 36). In addition, Foresters’ CR acknowledged that
    Foresters only sells its policies through these agents, and that the agents are authorized to
    discuss and explain policies to prospective insureds. (D.E. 158, at ¶¶ 2-3, Parrott Depo., D.E.
    158-3, p. 39, l. 22-p. 40, l. 7). Foresters is well aware of all these facts, as it was sitting at the
    same depositions as Plaintiff, uncomfortable in their seats as Foresters’ CR’s testimony filled
    in the elements to satisfy the requirements of fraud under Florida law. Mrs. Vinas need not
    make a further separate allegation of “agency in order to satisfy notice-pleading requirements”
    that Foresters openly acknowledged. (D.E. 159, at ¶ 20) Platypus Wear, Inc. v. Clarke Modet

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    & Co., S.L., 06-20976-CIV, 2008 WL 2557503, at *2 n.5 (S.D. Fla. June 23, 2008), adopted
    in relevant part, 06-20976-CIV, 2008 WL 2761300 (S.D. Fla. July 15, 2008).
           The Court should deny Foresters’ motion to dismiss because Vinas has both
    sufficiently alleged, and developed a factual record that, Ms. Lightbourn was Foresters’ sales
    agent authorized to accurately explain the policy terms and “represent that Foresters would
    not deny a claim or rescind the policy for inaccuracies in the Application so long as Mr. Vinas
    answered the Application questions truthfully, i.e., to his best knowledge and belief”); (D.E.
    147, at ¶ 24; D.E. 159, at ¶ 20).
                          There Is No Shotgun Pleading Because Vinas
                            Does Not Commingle Separate Counts
           In yet another example of irony, having repeatedly used every page and line of every
    motion to raise and re-raise every conceivable point in “shotgun fashion,” Foresters now uses
    the “shotgun pleading” doctrine to turn one simple point into five. As discussed above, Mrs.
    Vinas raises no vicarious liability claim.
           Here, Foresters argues that the vicarious liability claim (which Vinas does not raise)
    should form the basis for a separate count. Yet another strawman. Again, Vinas does not
    allege that Foresters’ is vicariously liable for the wrongs of another. Foresters’ liability is not
    merely technical or derivative. Count III is directed squarely at Foresters. Vinas cannot
    commit the “sin of not separating into a different count each cause of action or claim for
    relief” when she raises only one claim. (D.E. 152, at 12 (quoting Weiland v. Palm Beach Cty.
    Sheriff’s Office, 792 F. 3d 1313, 1323 (11th Cir. 2015)). The Court should deny Foresters’
    motion to dismiss.
                  Section 627.428 Mandates an Award of Attorney’s Fees
              Upon Entry of Judgment for Count III (Fraud in The Inducement)
    Section 627.428 provides:
                   Upon the rendition of a judgment or decree by any of the courts
                   of this state against an insurer and in favor of any named or
                   omnibus insured or the named beneficiary under a policy or
                   contract executed by the insurer, the trial court . . . shall adjudge
                   or decree against the insurer and in favor of the insured or
                   beneficiary a reasonable sum as fees or compensation for the
                   insured’s or beneficiary's attorney prosecuting the suit in which
                   the recovery is had.

    Fla. Stat §627.428(1) (emphasis added). Significantly, Foresters fails to cite a single case

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    holding that attorney’s fees are not available for a plaintiff who successfully establishes that
    an insurance company fraudulently induced an insured to enter into the contract of insurance.
    This is understandable since a fraudulent inducement cause of action, based upon inducing a
    Plaintiff into entering into a contract, satisfies all the elements of §627.428.
             Similarly, the allegations in the present complaint satisfy every statutory element for
    prevailing party attorney fees. Mr. Vinas was the named insured, and Mrs. Vinas is a named
    beneficiary under the policy. Fraud in the Inducement, while independent and separate from
    Count I (Breach of Contract), nevertheless features the issuance of the policy as a critical
    element of the claim. Without the issuance of the policy, there would have been no fraudulent
    inducement.      The fact that Foresters induced Mr. Vinas into entering into the policy,
    fraudulently, does not eliminate the contractual tie to the transaction. Thus, Vinas’ claim
    arises “under a policy or contract executed by the insurer.” §627.428(1), Fla. Stat.
             Foresters’ cases are totally distinguishable from the present case. (D.E. 152, at 17). In
    United Gen. Life Ins. Co. v. Koske, 519 So. 2d 71, 72 (Fla. 5th DCA 1988), the Court held,
    the statute did not apply because “no policy of insurance was ever issued or executed by the
    insurer covering Mr. Koske as an insured.” (D.E. 95, at 20). Therefore, the claim could not
    have arisen “under a policy or contract executed by the insurer.” § 627.428(1), Fla. Stat. In
    the present case, there is no question the policy was issued (albeit fraudulently so), to Mr.
    Vinas.
             In Hilson v. GEICO Gen. Ins. Co., the professional malpractice of one of GEICO’s
    staff attorneys was determined not to arise “under” the policy Geico had issued to the
    Plaintiff. 8:11-CV-13-MSS-MAP, 2016 WL 3211474, at *3 (M.D. Fla. Mar. 31, 2016)
    (finding no fee entitlement where “the negligence of GEICO’s staff attorney caused GEICO
    not to settle for the policy limits and resulted in an excess judgment”). The plaintiffs in Hilson,
    however, made it clear during litigation that they were asserting a tort claim unrelated to
    GEICO’s contract with the insured. (Id. at 3). Instead, they argued that GEICO was
    “vicariously liable for [the attorneys’] professional malpractice under the principle of
    respondeat superior.” (Id.). The Hilson plaintiffs thus alleged a claim that had nothing at all
    to do with the policy. Here, however, the fraudulent misrepresentations occurred in the policy
    itself, and further caused Mr. Vinas to enter into that contract with Foresters. The contractual
    nexus that was entirely lacking in Hilson is certainly present here.

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           As for Johnson v. Omega Insurance Company, the Supreme Court merely clarified
    that “in the context of Section 627.428, a denial of benefits simply means an incorrect denial,”
    with no requirement of “bad faith or maliciousness” as well. 200 So. 3d 1207, 1214 (Fla.
    2016). Foresters fails to explain why Johnson, a sinkhole case, has anything to add to the
    analysis of the Count III (Fraud in the Inducement).
           In sum, if Vinas prevails, the “judgment or decree” in her favor will be rendered
    because Foresters fraudulently provided coverage to Vinas under a policy or contract executed
    by the insurer, because the policy itself (via the application) contains the fraudulent statement.
    §627.428(a), Fla. Stat. Moreover, the claim alleged is fraud in the inducement to contract,
    which is alleged to have resulted in the creation of the policy. The Court should recognize
    Vinas’ entitlement to attorney fees under the Second Amended Complaint.
                       Vinas Has Not Abused the Privilege of Amending
           If Foresters prevails on some aspect of its motion, whether to dismiss with
    prejudice is a matter left to the Court’s discretion. Vinas must, however, address
    Foresters’ accusations that she is on a “fishing expedition” and that any further leave to
    amend should be denied. (D.E. 152, at 17).
           As to the first amendment, Foresters did not even object where Vinas added a
    claim for consequential damages. (D.E. 31). This is understandable given the well
    settled nature of Florida law at the time.      E.g., Manor House, LLC v. Citizens Prop.
    Ins. Corp., 277 So. 3d 658, 661 (Fla. 5th DCA 2019), (explaining that “when an insurer
    breaches an insurance contract, the insured “is entitled to recover more than the
    pecuniary loss involved in the balance of the payments due under the policy in
    consequential damages, provided the damages were in contemplation of the parties at
    the inception of the contract”) (citation omitted).
           Vinas requested leave to file her second amended complaint to add Count III
    (Fraud in the Inducement) on March 16, 2020, less than two weeks after she took the
    depositions of Foresters’ CR and claim handler whose testimony put Vinas on notice of
    Foresters’ fraud. Foresters’ opposition to the amendment included a sur-reply, leaving
    the motion to amend pending until the Court granted it on July 23, 2020. (D.E. 90).
           A single interlineated paragraph (D.E. 147, ¶ 36a) was added after the October
    13, 2020 deposition of a different CR established that Foresters authorized Ms.

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    Lightbourn to explain the policy and make representations consistent with its terms.
    (D.E.159, at ¶ 20). It was Foresters’ pending motion to dismiss, which argued for
    dismissal on the ground that the only representation was contained in the contract itself,
    that drove Vinas’ decision to update the Court as to the still-developing record. (D.E.
    95, at 17 (arguing independent tort rule); see D.E. 120 (setting out circumstances in
    Plaintiff’s Motion to Amend the Second Amended Complaint by Interlineation to
    Conform to Evidence).
           If the Court decides that any claim in the operative complaint are due for dismissal,
    it will determine how best to proceed. Vinas does not believe she has abused the privilege
    of amendment and asks the Court to exercise its discretion to permit additional
    amendment if appropriate.
                                          CONCLUSION
           Most of Foresters’ motion to dismiss is directed to claims Vinas does not raise: bad
    faith, vicarious liability, and fraud in the performance. None of those arguments are relevant
    to Count III (Fraud in the Inducement). Foresters’ remaining arguments merely lack merit.
    The Court should deny Foresters Motion to Dismiss. (D.E. 152).
                                  CERTIFICATE OF SERVICE
           I HEREBY CERTIFY a true and correct copy of the foregoing has been electronically
    filed with the Court and a copy has been served on February 8, 2021 on: Kristina B. Pett,
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                                                      and



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